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                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF LOUISIANA


JOEL GIROIR, on behalf of himself and all
similarly situated individuals,

        Plaintiff,
                                                       CIVIL ACTION NO. 3:21-cv-108-JWD-SDJ
        v.

JAMES LEBLANC, in his official capacity as
Secretary of the Louisiana Department of
Public Safety & Corrections; and
THE LOUISIANA DEPARTMENT OF
PUBLIC SAFETY & CORRECTIONS,

        Defendants.




                                  MOTION TO WITHDRAW

        NOW COMES Plaintiffs, by and through their attorneys, LOEVY & LOEVY, and

hereby seeks leave of the Court to withdraw attorney John Hazinski as counsel for Plaintiffs. In

support, Plaintiffs state as follows:

             1.      Mr. Hazinski has concluded his employment at Loevy & Loevy, the firm

  representing Plaintiffs.

             2.      Plaintiffs will continue to be represented by Sarah Grady and Stephen Weil of

  Loevy & Loevy, Mercedes Montagnes, Rebecca Ramaswamy, and Nishi Kumar of The

  Promise of Justice Initiative and William Most of the Law Office of William Most, L.L.C.

             3.      No party will be prejudiced if Mr. Hazinski is permitted to withdraw his

  appearance in this matter

        WHEREFORE, Plaintiff respectfully requests the Court enter an order permitting him to

withdraw his appearance as counsel in this matter.
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Dated: November 18, 2021                   Respectfully submitted,


                                           /s/ John Hazinski
                                           John Hazinski
Mercedes Montagnes                         Sarah Grady
Rebecca Ramaswamy                          Stephen Weil
Nishi Kumar                                Loevy & Loevy
The Promise of Justice Initiative          311 N. Aberdeen, 3rd FL
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                                           Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

          I, John Hazinski, an attorney, hereby certify that on November 18, 2021, I filed the

foregoing motion using the Court’s CM/ECF system, which effectuated service on all counsel of

record.

                                                                      /s/ John Hazinski




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